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                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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 12 MORGAN FLINT,                                    Case No. 2:17-cv-01491-SVW-SKx

 13                                   Plaintiff,     ORDER STAYING ACTION
                                                     PENDING ARBITRATION
 14            v.
                                                      United States District Judge Stephen V.
 15 PROGRESSIVE FINANCE                               Wilson
    HOLDINGS, LLC,
 16                                                  Action Filed: February 23, 2017
                     Defendant.
 17
 18              Upon the stipulation of the parties and good cause appearing, it is hereby
 19    ordered that:
 20             Pursuant to 9 U.S.C. § 3, all proceedings before this Court are stayed during
 21   the pendency of the parties’ arbitration. All matters scheduled before this Court are
 22   hereby taken off-calendar.
 23             The parties shall file a Joint Status Report apprising the Court of the status
 24   of this matter on or before October 26, 2017.
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 26 / / /
 27 / / /
 28 / / /
      DMEAST #29269017 v1
                            [PROPOSED] ORDER STAYING ACTION PENDING ARBITRATION
Case 2:17-cv-01491-SVW-SK Document 13 Filed 04/27/17 Page 2 of 2 Page ID #:35
